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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

RANGER INSURANCE LIMITED CIVIL ACTION NO. 4:10-cv-02009

VS.

§
§
§
§
BP plc, BP EXPLORATION & §
PRODUCTION, INC, BP AMERICA §
PRODUCTION COMPANY, BP § ADMIRALTY RULE 9(H)
CORPORATION NORTH AMERICA, INC. §
BP COMPANY NORTH AMERICA, INC., BP §
PRODUCTS NORTH AMERICA, INC.,BP —§
AMERICA, INC. and BP HOLDINGS §
NORTH AMERICA LIMITED §

COUNTER-DEFENDANT, RANGER INSURANCE LIMITED’S ANSWER TO
COUNTERCLAIMANTS FIRST AMENDED COUNTERCLAIM

A. COUNTER-DEFENDANT’S ANSWER

Counterclaim-Defendant, RANGER INSURANCE LIMITED, by and through their undersigned
attorneys, hereby responds as follows to the allegations in Defendant’s First Amended Counterclaim
filed against it in this action by Counterclaimants, BP Exploration & Production Inc., BP America
Production Company, BP Corporation North America Inc., BP Company North America Inc., BP
Products North America Inc., and BP America Inc.

I. Paragraph | of Defendant’s First Amended Counterclaim sets forth a legal assertion
that does not warrant a response. To the extent that Paragraph 1 should be determined to contain any

factual allegations to which a response is required, they are denied.

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2. Counterclaim-Defendant RANGER INSURANCE LIMITED admits, on information and
belief, the allegations in Paragraph 2.

3. Counterclaim-Defendant RANGER INSURANCE LIMITED admits, on information and
belief, the allegations in Paragraph 3.

4. Counterclaim-Defendant RANGER INSURANCE LIMITED admits, on information and
belief, the allegations in Paragraph 4.

5. Counterclaim-Defendant RANGER INSURANCE LIMITED admits, on information and
belief, the allegations in Paragraph 5.

6. Counterclaim-Defendant RANGER INSURANCE LIMITED admits, on information and
belief, the allegations in Paragraph 6.

7. Counterclaim-Defendant RANGER INSURANCE LIMITED admits, on information and
belief, the allegations in Paragraph 7.

8. Counterclaim-Defendant RANGER INSURANCE LIMITED admits in Paragraph 8 that
it is a Cayman Islands company engaged in the business of placing excess liability policies with its
principal place of business in George Town, Grand Cayman Islands and issued policy No. RANGER
34OUSPL.09-10 to Transocean Ltd. The remainder of Paragraph 8 is denied.

9. Counterclaim-Defendant RANGER INSURANCE LIMITED lacks sufficient information
to enable it to respond to the allegations in Paragraph 9 and on that basis, they are denied.

10. Counterclaim-Defendant RANGER INSURANCE LIMITED admits Paragraph 10.

il. Counterclaim-Defendant RANGER INSURANCE LIMITED admits Paragraph 11 as it
applies to it, but lacks sufficient information to enable it to respond to the allegations in Paragraph

1] as it applies to “Other Excess Insurers” who Counterclaimants have named as additional Counter-

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Defendants.

12. Counterclaim-Defendant RANGER INSURANCE LIMITED admits Paragraph 12 as it
applies to it, but lacks sufficient information to enable it to respond to the allegations in Paragraph
12 as itapplies to “Other Excess Insurers” who Counterclaimants have named as additional Counter-
Defendants.

13. Counterclaim-Defendant RANGER INSURANCE LIMITED denies Paragraph 13 as it
applies to it.

14. Counterclaim-Defendant RANGER INSURANCE LIMITED denies Paragraph 14 as it
applies to it, but based upon information and belief, believes that “Other Excess Insurers” are
denying the allegation contained in Paragraph 14 as well.

15. Counterclaim-Defendant RANGER INSURANCE LIMITED admits Paragraph 15.

16. | Counterclaim-Defendant RANGER INSURANCE LIMITED admits _ that
Counterclaimants have incurred, and will continue to incur, losses relating to and arising out of the
Deepwater Horizon Incident, but denies the remainder of the allegations contained in Paragraph 16.

17. Counterclaim-Defendant RANGER INSURANCE LIMITED denies Paragraph 17 as it
applies to it, and based upon information and belief, believes that the “Other Excess Insurers” are
denying the allegation contained in Paragraph 17 as well.

18. Counterclaim-Defendant RANGER INSURANCE LIMITED denies Paragraph 18 as it
applies to it, and based upon information and belief, believes that the “Other Excess Insurers” are
denying the allegation contained in Paragraph 18 as well.

19. Counterclaim-Defendant RANGER INSURANCE LIMITED asserts that Paragraph 19

is repetitive and responds as it did above to Paragraphs | through 18.

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20. Counterclaim-Defendant RANGER INSURANCE LIMITED admits Paragraph 20 as it
applies to it, and based upon information and belief, believes that the “Other Excess Insurers” are
admitting the allegation contained in Paragraph 20 as well.

21. Counterclaim-Defendant RANGER INSURANCE LIMITED denies Paragraph 21 as it
applies to it, and based upon information and belief, believes that the “Other Excess Insurers” are
denying the allegation contained in Paragraph 21 as well.

22. Counterclaim-Defendant RANGER INSURANCE LIMITED denies that Counter-Plaintiff
is entitled to the relief requested in Paragraph 22.

23. Counterclaim-Defendant RANGER INSURANCE LIMITED asserts that Paragraph 23
is repetitive by admission and responds as it did above to Paragraphs 1 through 22.

24. Counterclaim-Defendant RANGER INSURANCE LIMITED denies Paragraph 24 as it
applies to it, and based upon information and belief, believes that the “Other Excess Insurers” are
denying the allegation contained in Paragraph 24 as well.

25.  Counterclaim-Defendant RANGER INSURANCE LIMITED denies Paragraph 25.

26.  Counterclaim-Defendant RANGER INSURANCE LIMITED asserts that Paragraph 26
is repetitive by admission and responds as it did above to Paragraphs 1 through 25.

27. Counterclaim-Defendant RANGER INSURANCE LIMITED is without sufficient
information to either admit or deny Paragraph 27 and on that basis denies Paragraph 27.

28. | Counterclaim-Defendant RANGER INSURANCE LIMITED is without sufficient
information to either admit or deny Paragraph 28 and on that basis denies Paragraph 28.

29. Counterclaim-Defendant RANGER INSURANCE LIMITED is without sufficient

information to either admit or deny Paragraph 29 and on that basis denies Paragraph 29.

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30. Counterclaim-Defendant RANGER INSURANCE LIMITED is without sufficient
information to either admit or deny Paragraph 30 and on that basis denies Paragraph 30.

31. Counterclaim-Defendant RANGER INSURANCE LIMITED is without sufficient
information to either admit or deny Paragraph 31 and on that basis denies Paragraph 31.

32. Counterclaim-Defendant RANGER INSURANCE LIMITED is without sufficient
information to either admit or deny Paragraph 32 and on that basis denies Paragraph 32.

33. Counterclaim-Defendant RANGER INSURANCE LIMITED denies Paragraph 33 as it
applies to it, and based upon information and belief, believes that the “Other Excess Insurers” are
denying the allegation contained in Paragraph 33 as well.

34. Counterclaim-Defendant RANGER INSURANCE LIMITED denies Paragraph 34 as it
applies to it, and based upon information and belief, believes that the “Other Excess Insurers” are
denying the allegation contained in Paragraph 34 as well.

35. Counterclaim-Defendant denies Paragraph 35.

36. Counterclaim-Defendant, RANGER INSURANCE LIMITED denies that
Counterclaimants are entitled to any of the relief requested or any other or further relief.

B. AFFIRMATIVE DEFENSES

In the alternative and without waiver of the specific denials set forth above, Counter-
Defendant, RANGER INSURANCE LIMITED states:

37. The claims asserts in the First Amended Counterclaim are barred by the doctrines of
waiver, release, estoppel and/or unclean hands.

38. The claims asserted in the First Amended Counterclaim by the National Union Fire
Insurance Company of Pittsburgh, Pa (“National Union”) are barred because National Union is not

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a party to this action and lacks standing to sue as the equitable or contractual subrogee of BP
Corporation North America, Inc.

39. The claims asserted in the First Amended Counterclaim are barred because all
conditions precedent under the Ranger policy have not been performed. Specifically, the Counter-
Plaintiff failed to give adequate notice of the loss and claim.

40. | Counterclaim-Defendant RANGER INSURANCE LIMITED specifically reserves its
respective right to assert any and all additional affirmative defenses that may become apparent or
available during the course of these proceedings and further reserves its respective rights to amend
this Answer to assert such defenses.

Respectfully submitted,

MALONEY* MARTIN, L.L.P.

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ATTORNEY FOR PLAINTIFF,

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CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing Counter-Defendant, Ranger Insurance
Limited's Original Answer to Counter-Plaintiffs' First Amended Counterclaim was electronically
filed with the Clerk, with a copy thereof furnished electronically by the Clerk, and/or by the
undersigned counsel via certified mail, return receipt requested on this the 7" day of September
2010, as follows:

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